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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

 GORSS MOTELS, INC., a Connecticut               )
 corporation, individually and as the            )
 representative of a class of similarly-         )
 situated persons,                               )
                                                 )    Civil Action No. 3:16-CV-1368 (RNC)
                        Plaintiff,               )
                                                 )    CLASS ACTION
                v.                               )
                                                 )
 CETIS, INC., a Delaware corporation,            )
 and JOHN DOES 1-5,                              )
                                                 )
                        Defendants.              )


                        STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) Plaintiff in this action, Gorss

Motels Inc., and Defendant, Cetis, Inc., by and through their undersigned counsel, hereby stipulate

to the dismissal of this action with prejudice as to the individual claims of Gorss Motels, Inc. only,

without prejudice as to the members of the putative class, each side to bear its own costs.



 Plaintiff, GORSS MOTELS, INC.:                      Defendant, CETIS, INC.:

  /s/ Ryan M. Kelly                                  /s/ Joshua Briones
 Ryan M. Kelly (ct 30230)                            Joshua Briones
 ANDERSON + WANCA                                    Esteban Morales
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 18, 2018, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which will send notification of such filing to all attorneys of
record.

                                                        s/ Ryan M. Kelly




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